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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JOHN DOE, individually and                      )
on behalf of others similarly situated,         )
                                                )
                        Plaintiff,              )            Case No. 1:20-cv-02531 SJC
                                                )
        v.                                      )            JURY DEMANDED
                                                )
DONALD J. TRUMP, in his individual and official )
capacity as President of the United States;     )
MITCH MCCONNELL, in his individual and          )
official capacity as a Senator and Sponsor of   )
S. 3548 CARES Act; and                          )
STEVEN MNUCHIN, in his individual and official )
capacity as the Acting Secretary of the U.S.    )
Department of Treasury,                         )
                                                )
                        Defendants.             )

                     FIRST AMENDED CLASS ACTION COMPLAINT

       NOW COMES Plaintiff, John Doe, (hereinafter “Doe” or “Plaintiff”), individually and on

behalf of the proposed class, by and through his attorneys, Blaise & Nitschke, P.C. and Khalaf &

Abuzir, LLC, and submits his first amended class action complaint against DONALD J.

TRUMP, in his individual and official capacity as President of the United States; MITCH

MCCONNELL, in his individual and official capacity as United States Senator and the Sponsor

of S. 3548 CARES Act; and STEVEN MNUCHIN, in his individual and official capacity as the

Acting Secretary of the U.S. Department of Treasury (hereinafter collectively referred to as

“Defendants”). In furtherance whereof, Plaintiff states as follows:

                                    NATURE OF THE CASE

       This is a class action based upon Defendants’ unconstitutional deprivation of the rights,

privileges, benefits and/or protections provided to United States Citizens, via the enactment and




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subsequent enforcement of the S. 3548-Coronavirus Aid, Relief, and Economic Security Act

(hereinafter “CARES Act”), both enactment and enforcement of which evidence the

discriminatory purpose and intent of said Act.

                                                PARTIES

       1.      Plaintiff John Doe is a U.S. citizen who at all times mentioned in this Complaint

resided in the Northern District of Illinois.

       2.      That “John Doe” is not Plaintiff’s actual name, but rather is a fictitious name for

an actual person as herein described, in order to protect his actual identity, which is protected

under the 5th Amendment and the facts alleged herein.

       3.      Defendant, DONALD J. TRUMP, in his individual and official capacity as

President of the United States, is the President of the United States who signed into law the S.

3548-Coronavirus Aid, Relief, and Economic Security Act (hereinafter “CARES Act) on March

27, 2020.

       4.      Defendant, MITCH MCCONNELL, in his individual and official capacity as

United States Senator, is the Sponsor of the S. 3548-CARES Act, introduced in the Senate on

March 19, 2020 and signed into law on March 27, 2020.

       5.      Defendant, STEVEN MNUCHIN, in his individual and official capacity, is the

Acting Secretary of the U.S. Department of Treasury.

       6.      That Defendants are each sued in their individual and official capacities and are

the three persons and/or offices most responsible for the conduct alleged herein.

       7.      Each of the Defendants had actual and/or constructive knowledge of the acts of

the other Defendants as described herein, and ratified, approved, joined in, acquiesced in, and/or

authorized the acts of the other, and/or retained the benefits of the said acts.




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                                 JURISDICTION AND VENUE

       8.      This Court has Federal Question Jurisdiction pursuant to 28 U.S.C. § 1331 because the case

arises under the Constitution, laws, or treaties of the United States.

       9.      Venue is appropriate in the United States District Court for the Northern District

of Illinois pursuant to 28 U.S.C. §1391(b) because a substantial part of the events giving rise to

the claims alleged herein occurred in this judicial district.

       10.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §1367, which

gives the district court supplemental jurisdiction over state law claims.

                                    STATEMENT OF FACTS

       11.     This civil rights action challenges the CARES Act on constitutional grounds. The

CARES Act denies tax-paying U.S. citizens their rights, privileges, benefits and/or protections

embodied in § 6428.2020 of the CARES Act (“Recovery Rebates For Individuals”).

       12.     The CARES Act was introduced in the United States Senate (the “Senate”) on

March 19, 2020 by Mitch McConnell (for himself, Mr. Alexander, Mr. Crapo, Mr. Grassley,

Mr. Rubio, Mr. Shelby, and Mr. Wicker). S. 3548, 116th Cong. (2020).

       13.     The CARES Act was signed into law by President Donald J. Trump on March 27,

2020. Statement by the President, WHITEHOUSE.GOV (March 27, 2020) https://www.whitehouse.

gov/briefings-statements/statement-by-the-president-38/ (last visited Apr 24, 2020).

       14.     The CARES Act is to provide emergency assistance and health care response for

individuals, families, and businesses affected by the 2020 coronavirus pandemic (“COVID-19”).

S. 3548, 116th Cong. (2020).

       15.     Sec. 6428 of the CARES Act authorizes the Internal Revenue Service to disburse

$1,200.00 to Americans earning up to $75,000.00 in adjusted gross income who have a Social




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Security number, and an additional $500.00 for each child under the age of 17 (hereinafter “the

Stimulus Check”). S. 3548, 116th Cong. § 6428 (2020).

       16.    Sec. 6428 of the CARES Act authorizes the Internal Revenue Service to disburse

$2,400.00 to Americans filing jointly when earning up to $150,000.00 in adjusted gross income.

S. 3548, 116th Cong. § 6428 (2020).

       17.    The Stimulus Checks includes Defendant Trump’s signature. Defendant Mnuchin

admits that the inclusion of Defendant Trump’s signature on the Stimulus Checks was Defendant

Mnuchin’s idea.

       18.    To be eligible to receive a payment, an individual:

   ● must be a U.S. citizen, permanent resident or qualifying resident alien;
   ● cannot be claimed as a dependent on someone else’s return;
   ● must have a Social Security number (“SSN”) that is valid for employment (“valid SSN”)
         o Exception: If either spouse is a member of the U.S. Armed Forces at any time
            during the taxable year, then only one spouse needs to have a valid SSN;
     and
   ● must have an adjusted gross income below an amount based on his or her filing status and
     the number of his or her qualifying children.

Economic Impact Payment Information Center, IRS.GOV (April 24, 2020) https://www.irs.gov/

coronavirus/economic-impact-payment-information-center (last visited April 24, 2020).

       19.    Any family that files a joint tax return where one of the spouses has a Social

Security number and one has an Individual Taxpayer Identification Number, which the Internal

Revenue Service issues to workers who lack Social Security numbers, cannot receive a Stimulus

Check — unless one spouse is a member of the U.S. Armed Forces. Jenny Jarvie, These U.S.

Citizens Won’t Get Coronavirus Stimulus Checks – Because Their Spouses Are Immigrants, LOS

ANGELES TIMES (April 20, 2020), https://www.latimes.com/world-nation/story/2020-04-20/u-s-

citizens-coronavirus-stimulus-checks-spouses-immigrant (last visited April 24, 2020).




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         20.       There are 1.2 million Americans married to immigrants who do not hold Social

Security numbers. Profile of the Unauthorized Population: United States, MIGRATION POLICY

INSTITUTE, https://www.migrationpolicy.org/data/unauthorized-immigrant-population/state/US

(last visited April 24, 2020).

         21.       Of the 1.2 million Americans, those who file joint tax returns and are not in the

military are ineligible for a Stimulus Check and deprived of the right(s), benefit(s) and/or

privilege(s) conferred upon all other U.S. citizens who otherwise qualify. “It’s a deliberately

cruel carve-out,” said Manar Waheed, senior legislative and advocacy counsel with the American

Civil Liberties Union. Jarvie, supra.

         22.       Putative class Plaintiff is a U.S. citizen who earns less than $75,000.00 in adjusted

gross income, whose children are also U.S. citizens, and is excluded from the government’s $2

trillion coronavirus financial relief package because he files his taxes jointly with his spouse, an

immigrant who does not have a Social Security number.

         23.       Plaintiff Doe is married to an immigrant who pays taxes and files tax returns with

an Individual Taxpayer Identification Number. The couple file joint tax returns and neither are

in the military.

         24.       Had Plaintiff not been married to an immigrant with an Individual Taxpayer

Identification Number, Plaintiff and his children would have otherwise qualified for a Stimulus

Check.

                                  CLASS ACTION ALLEGATIONS

         25.       Plaintiff brings this claim individually and on behalf of the following putative

classes:

                   All United States Citizens married to immigrants that file joint taxes
                   wherein the immigrant-spouses file tax returns using an Individual



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              Taxpayer Identification Number who would have otherwise qualified
              for the Stimulus Check.

       26.    The Class (“Class”) is so numerous that joinder of all individual members

(individually, “Class Member” or collectively, “Class Members”) in one action would be

impracticable, given the expected Class size and modest value of individual claims.

       27.    There are more than 1.2 million Americans that are married to immigrants who

lack Social Security numbers.

       28.     Of the 1.2 million Americans, those who file joint tax returns and are not in the

military would meet the above-referenced Class definition.

       29.    Class Members can be identified through Defendants’ records.

       30.    Plaintiff’s claims are typical of the claims of the Class Members, as they are

based on the same legal theory and arise from the same unlawful conduct.

       31.    There are common questions of law and fact affecting Class Members, which

common questions predominate over questions that may affect individual members. These

common questions include, but are not limited to:

              a. Whether and to what extent Defendants have deprived Class Members of

                  their First Amendment Rights; Equal Protection and Due Process under the

                  Law;

              b. Whether and to what extent Defendants have deprived Class Members of

                  their property interest;

              c. Whether and to what extent Defendants have deprived Class Members of

                  their rights, privileges, and immunities secured by the Constitution of the

                  United States;




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                d. Whether Class members are entitled to actual damages, statutory damages,

                    and/or punitive damages as a result of Defendants’ wrongful conduct;

                e. Whether Class Members are entitled to injunctive relief to redress the

                    imminent and currently ongoing harm faced as a result of their exclusion from

                    the CARES Act; and

                f. Whether or not Class Members are entitled to Declaratory Judgment relating

                    to their classification and exclusion, among others, under the CARES Act.

        32.     Plaintiff will fairly and adequately represent the Class Members. Plaintiff has no

interests that conflict with the interests of Class Members. Plaintiff has retained counsel

experienced in handling civil rights cases and class actions. Neither Plaintiff nor his or her

counsel has any interests that might cause them not to pursue these claims vigorously.

        33.     This action should be maintained as a class action because the prosecution of

separate actions by individual Class Members would create a risk of inconsistent or varying

adjudications with respect to individual members that would establish incompatible standards of

conduct for the parties opposing the Class.

                                            COUNT I
                            Violation(s) of United States Constitution
                             (On Behalf of Plaintiff and the Class)

        34.     Plaintiff re-alleges and incorporates paragraphs 1-33 of this Complaint as though

fully set forth herein.

        35.     The Defendants, in their individual and official capacities as President of the

United States, Senator and Sponsor of the CARES Act in the United States, and Acting Secretary

of the U.S. Department of Treasury, violated Plaintiff’s procedural and substantive due process

rights and deprived Plaintiff of his rights, privileges, and immunities secured by the Constitution



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of the United States.

       36.     The Defendants have engaged and continue to engage in behavior that violates

Plaintiff’s constitutional property interest rights individually and as a taxpayer in the United

States and have thereby irreparably injured Plaintiff.

       37.     Defendants, acting under color of law, have violated rights secured to Plaintiff by

the First, Fifth, and Fourteenth Amendments to the United States Constitution including the right

of association, the right to due process of law, the right to equal protection under the law, and the

penumbra of privacy rights created by the First, Third, Fourth, and Fifth Amendments that

creates a fundamental right to marriage. Specifically, Defendants have failed, as applied to

Plaintiff, to treat him as equal to his fellow United States citizens based solely on whom he chose

to marry.

       38.     Plaintiff has lawfully filed taxes in the United States, yet he is being denied the

rights and privileges under the CARES Act.

       39.     Similarly situated U.S. citizens who are not married to immigrants and who filed

joint tax returns have not been denied such rights and privileges under the “CARES” Act.

       40.     Plaintiff brings this action against Defendants in their individual and official

capacities for purposes of seeking declaratory and injunctive relief and challenges the practices

and policies of discrimination both facially and as applied to him, individually, and as the

putative Class Plaintiff.

       41.     The Fifth Amendment to the United States Constitution provides that no person

shall be “deprived of life, liberty or property without due process of law.” U.S. Const. amend. V.

       42.     The Fourteenth Amendment to the United States Constitution, enforceable

pursuant to 42 U.S.C. § 1983, provides that no state shall “deny to any person within its



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jurisdiction the equal protection of the laws.” U.S. Const. amend. XIV, § 1. In addition, the

Privileges and Immunities Clause of the Fourteenth Amendment states that “the citizens of each

state shall be entitled to all privileges and immunities of citizens in the several states.” U.S.

Const. amend. XIV, § 1 Clause 2. Although the Fourteenth Amendment expressly applies to the

State, it has been construed to apply to the Federal Government through the Reverse

Incorporation Doctrine under Bolling v. Sharpe, 347 U.S. 497 (1954) and its progeny. See Brown

v. Board of Education of Topeka, 347 U.S. 483 (1954); Adarand Constructors, Inc. v. Peña 515

U.S. 200 (1995) (applying strict scrutiny to the federal government based on equal protection

grounds).

                      Marriage as a Fundamental Right Emanating From
                        Our First, Fifth, and Fourteenth Amendments

       43.     The Supreme Court has reiterated in numerous contexts that the right to marry is a

fundamental right under the Due Process Clause. See, e.g., M. L. B. v. S. L. J., 519 U.S. 102, 116,

117 S. Ct. 555, 136 L. Ed. 2d 473 (1996); Cleveland Bd. of Ed. v. LaFleur, 414 U.S. 632, 639-

640, 94 S. Ct. 791, 39 L. Ed. 2d 52 (1974); Griswold, supra, at 486, 85 S. Ct. 1678, 14 L. Ed. 2d

510; Skinner v. Oklahoma ex rel. Williamson, 316 U.S. 535, 541, 62 S. Ct. 1110, 86 L. Ed. 1655

(1942); Meyer v. Nebraska, 262 U.S. 390, 399, 43 S. Ct. 625, 67 L. Ed. 1042 (1923).

       44.     Discrimination based on the fundamental right to marry is presumptively

unconstitutional and subject to strict scrutiny.

       45.     The First Amendment to the U.S. Constitution states: “Congress shall make no

law respecting an establishment of religion, or prohibiting the free exercise thereof; or abridging

the freedom of speech, or of the press; or the right of the people peaceably to assemble, and to

petition the Government for a redress of grievances.” U.S. Const. amend. I.




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       46.     Specific guarantees in the Bill of Rights have penumbras, formed by emanations

from those guarantees that help give them life and substance. Various guarantees create zones of

privacy. The right of association contained in the penumbra of the First Amendment is one of

those fundamentally protected zones of privacy. Griswold v. Connecticut, 381 U.S. 479, 480, 85

S. Ct. 1678, 1679 (1965).

       47.     The right of privacy first achieved constitutional stature in Griswold v.

Connecticut, 381 U.S. 479, 14 L. Ed. 2d 510, 85 S. Ct. 1678 (1965), wherein the Griswold Court

began by noting that “specific guarantees in the Bill of Rights have penumbras, formed by

emanations from those guarantees that help give them life and substance.” 381 U.S. at 484.

       48.     The Griswold opinion stressed the sanctity of marriage lying within the zone of

privacy created by several fundamental constitutional guarantees. Griswold v. Connecticut, 381

U.S. 479, 485, 85 S. Ct. 1678, 1682 (1965)

       49.     Defendants discriminate against Plaintiff on the basis of their fundamental right of

marriage.

       50.     The CARES Act provision at issue, on its face and as applied, or threatened to be

applied, violates the First Amendment of the United States Constitution; Due Process Clause of

the Fifth Amendment; Equal Protection and Privileges and Immunities afforded under the

Fourteenth Amendment under Reverse Incorporation Doctrine; and the well-established

fundamental right to marry.

       51.     The First, Fifth, and Fourteenth Amendments all amount to well-established

constitutional rights of which a reasonable person would have known was violated personally

and officially by the Defendants.




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          52.   Defendants have no compelling interest justifying their policies of discrimination

based on marriage, and they cannot show that these classifications are necessary to serve any

legitimate governmental interest.

          53.   The Defendants treat Plaintiff differently than U.S. Citizens who file jointly with

other U.S. Citizens, who are similarly situated.

          54.   The CARES Act singles out law-abiding and tax-paying U.S. Citizens by

excluding them from a benefit they and their children would otherwise be entitled to with no

compelling interest justifying the law and without serving any legitimate governmental interest.

          55.   Sec. 6428 is not narrowly tailored to advance a compelling government interest,

nor is it rationally related to any legitimate government interest.

          56.   Accordingly, the CARES Act provision at issue violates the First Amendment to

the United States Constitution; Due Process Clause of the Fifth Amendment to the United States

Constitution; Equal Protection and Privileges and Immunities under the Fourteenth Amendment

under the Reverse Incorporation Doctrine; and the well-established fundamental right to marry.

                                    Alienage as a Suspect Class

          57.   “[Classifications] based on alienage, like those based on nationality or race, are

inherently suspect and subject to close judicial scrutiny. Aliens as a class are a prime example of

a ‘discrete and insular’ minority . . . for whom such heightened judicial solicitude is

appropriate.” Graham v. Richardson, 403 U.S. 365, 372 (1971) (footnotes and citations omitted).

          58.   Discrimination based on the alienage of a U.S. citizen’s spouse is presumptively

unconstitutional and subject to strict scrutiny.

          59.   Defendants discriminate against Plaintiff on the basis of the alienage of their

spouse.




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        60.       The CARES Act provision at issue, on its face and as applied, or threatened to be

applied, violates the First Amendment to the United States Constitution; Due Process Clause of

the Fifth Amendment; Equal Protection and Privileges and Immunities under the Fourteenth

Amendment under the Reverse Incorporation Doctrine; and the well-established fundamental

right to marry.

        61.       Defendants have no compelling interest justifying their policies of discrimination

based on the marriage to a non-U.S. Citizen, and they cannot show that this suspect class is

necessary to serve any legitimate governmental interest.

        62.       The Defendants treat Plaintiff differently than U.S. Citizens who marry other U.S.

Citizens, who are similarly situated.

        63.       Sec. 6428 is not narrowly tailored to advance a compelling government interest,

nor is it rationally related to any legitimate government interest.

        64.       Accordingly, the CARES Act provision at issue violates the First Amendment of

the United States Constitution; Due Process Clause of the Fifth Amendment to the United States

Constitution; Equal Protection and Privileges and Immunities under the Fourteenth Amendment

under the Reverse Incorporation Doctrine; and the well-established fundamental right to marry.

                                     COUNT II
                  Action for Temporary Restraining Order (“TRO”);
  Preliminary and Permanent Injunction; and Declaratory Relief Against All Defendants
                         (On Behalf of Plaintiff and the Class)

        65.       Plaintiff re-alleges and incorporates paragraphs 1-64 of this Complaint as though

fully set forth herein.

        66.       Plaintiff seeks the entry of a temporary restraining order, preliminary and

permanent injunction, and Declaratory Relief, including but not limited to the following:




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               a. Issue a temporary, preliminary and permanent injunction against the

                   Defendants and all those acting in concert prohibiting enforcement of the

                   laws, as applied, at issue in this action; and

               b. Issue a declaratory judgment that the CARES Act provision at issue in this

                   case, as applied to Plaintiff and the putative class, violates the constitutional

                   and statutory rights of Plaintiff and denies Plaintiff the privileges and

                   immunities to which he would otherwise be entitled.

       67.     Plaintiff has no adequate remedy at law and is suffering irreparable harm. There is

no harm to the Defendants by this Court granting an injunction prohibiting enforcement of the

challenged CARES Act provision. Meanwhile, the harm to Plaintiff is severe. The public interest

is clearly served by this Court acting to order recognition of U.S. Citizens and their children

consistent with the manner in which the Federal Government treats similarly situated U.S.

Citizens, without regard to their marital status. Only prompt action by this federal Court ordering

declaratory and injunctive relief will serve the public interest.

       68.     Injunctive relief is appropriate under the circumstances because Defendants have

intentionally excluded otherwise eligible U.S. Citizens from receiving the Stimulus Check and

more damaging, excluding them from a benefit conferred upon all other U.S. Citizens simply

because of whom they chose to marry, which is facially discriminatory and retributive.

       69.     Plaintiff has suffered, and will continue to suffer, immediate and irreparable harm

by reason of the conduct described above. Such immediate and irreparable harm includes, but is

not limited to, the loss of a minimum of $1,200.00 U.S. Dollars and a loss of privacy, reputation

in the community, and dignity.




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          70.       Plaintiff does not have an adequate remedy at law to protect and re-establish the

rights which currently have been, and continue to be, violated by Defendants’ actions. Plaintiff’s

rights cannot be obtained except through injunctive relief.

          71.       Entering the injunctive relief that Plaintiff is seeking will cause the Defendants no

harm.

          72.       Defendants will suffer no loss, if compelled to act in accordance with the law, by

refraining from discriminating against U.S. Citizens based upon their marital status to

immigrants.

          73.          There is a reasonable likelihood that the Plaintiff will succeed on the merits of his

claims.

                                            PRAYER FOR RELIEF

          WHEREFORE, Plaintiff JOHN DOE, individually and on behalf of the proposed Class,

by and through his attorneys, Blaise & Nitschke, P.C. and Khalaf & Abuzir, LLC, prays for relief

as follows:

          a. For an Order certifying this action as a class action and appointing Plaintiff and his

                Counsel to represent the Class;

          b. A temporary, preliminary and permanent injunction against the Defendants and all

                those acting in concert prohibiting enforcement of the laws, as applied, at issue in this

                action, as follows;

                  i.      Issuing a Temporary Restraining Order amending the CARES Act as follows:

                          “(h) Identification Number Requirement.—




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              “(1) IN GENERAL.—No credit shall be allowed under subsection (a)

              to an eligible individual who does not include on the return of tax for

              the taxable year—

              “(A) such individual’s valid identification number,

              “(B) in the case of a joint return, the valid identification number of

              such individual’s spouse for at least one of the filing spouses, and

              “(C) in the case of any qualifying child taken into account under

              subsection (b)(1)(B), the valid identification number of such

              qualifying child.

              “(2) VALID IDENTIFICATION NUMBER.—

              “(A) IN GENERAL.—For purposes of paragraph (1), the term ‘valid

              identification number’ means a social security number (as such term is

              defined in section 24(h)(7)).

       ii.    Issuing a Preliminary and Permanent Injunction amending the CARES Act as

              identified above and enjoining Defendants from affixing any new terms to the

              CARES Act, or any future legislation designed to provide stimulus to United

              States citizens that excludes mixed immigration status families.

  c. Issue a declaratory judgment that the CARES Act provision at issue in this case is

      subject to strict scrutiny;

  d. Issue a declaratory judgment that the CARES Act provision at issue in this case, as

      applied to the Plaintiff, violate the constitutional and statutory rights of Plaintiff;

  e. Issue a declaratory judgment striking from the CARES Act those provisions that are

      violative of the protections afforded to Plaintiff and those similarly situated under the




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           United States Constitution, federal statutes, and those cases interpreting the same

           under which this Court is bound under the principles of stare decisis;

       f. Enter an Order requiring the Defendants to hold in escrow or otherwise earmark

           sufficient funds for the issuance of Stimulus Checks to members of the putative class;

       g. For an award of attorneys’ fees and costs; and

       h. Such other and further relief as this court may deem just and proper.

                                         JURY DEMAND

       Plaintiff respectfully demands a trial by jury of all matters so triable.

                          DOCUMENT PRESERVATION DEMAND

       Plaintiff hereby demands that Defendants take affirmative steps to preserve all

recordings, data, documents, and all other tangible things that relate to Plaintiff and the putative

class and the events described herein. These materials are likely very relevant to the litigation of

this claim. If Defendants are aware of any third party that has possession, custody, or control of

any such materials, Plaintiff demands that Defendants request that such third party also take

steps to preserve the materials. This demand shall not narrow the scope of any independent

document preservation duties of the Defendants.

                           NOTICE OF LIEN AND ASSIGNMENT

       All rights relating to attorneys’ fees have been assigned to counsel.

Dated: April 27, 2020                                 Respectfully submitted,
                                                      John Doe, individually and
                                                      on behalf of others similarly situated
                                                      (collectively “Their”).

                                               By:    /s/ Lana B. Nassar
                                                      Lana B. Nassar
                                                      One of Their attorneys




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                                     By:    /s/ Vivian Khalaf
                                            Vivian Khalaf
                                            One of Their attorneys


                                     By:    /s/ Heather L. Blaise
                                            Heather L. Blaise
                                            One of Their attorneys


                                     By:    /s/ Elisabeth A. Gavin
                                            Elisabeth A. Gavin
                                            One of Their attorneys


                                     By:    /s/ Omar Abuzir
                                            Omar Abuzir
                                            One of Their attorneys


                                     By:    /s/ Thomas J. Nitschke
                                            Thomas J. Nitschke
                                            One of Their attorneys


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                                 CERTIFICATE OF SERVICE

       The undersigned certifies that on the 27th day of April, 2020, she caused the foregoing
instrument to be electronically filed with the Clerk of the United States District Court for the
Northern District of Illinois using the CM/ECF system.


                                                     /s/ Lana B. Nassar
                                                     Lana B. Nassar
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